      Case 8:25-cv-00337-BAH          Document 116        Filed 03/04/25       Page 1 of 2



                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

                                                *
PFLAG, INC., ET AL.,
                                                *
       Plaintiffs,
                                                *
v.
                                                *          Civil No. 25-337-BAH
DONALD J. TRUMP ET AL.,
                                                *
       Defendants.
                                                *
*      *       *      *       *      *      *       *      *       *       *       *        *   *

                                            ORDER

       For the reasons stated in the accompanying memorandum opinion, it is hereby ORDERED

that Plaintiffs' motion for a preliminary injunction, ECF 69, is GRANTED. 1 It is further

       ORDERED that Defendants U.S. Department of Health and Human Services ("HHS"),

Robert F. Kennedy, Jr., in his official capacity as Secretary of HHS; the Health Resources and

Services Administration ("HRSA"); Diana Espinosa, in her official capacity as Principal Deputy

Administrator 1of HRSA; the National Institutes of Health ("NIH"); Matthew J. Memoli, in his

official capacity as Acting NIH Director; the National Science Foundation ("NSF"); Sethuraman

Panchanathan,' in his official capacity as Director of NSF; any subagencies of Defendant HHS,

their officers, agents, successors, servants, employees, and attorneys, and any other persons who

are in active concert or participation with them, are ENJOINED from conditioning, withholding,
                   -
or terminatin~ federal'funding under Section 3(g) of Executive Order 14,168 and Section 4 of




1 For the purposes of this preliminary injunction, "Defendants" herein refers to all Defendants
listed in the amended complaint except President Trump.
       Case 8:25-cv-00337-BAH           Document 116          Filed 03/04/25    Page 2 of 2



Executive Order 14,187, based on the fact that a healthcare entity or health professional provides

gender-affirming medical care to a patient under the age of nineteen; it is further

          ORDERED that Defendants must provide written notice of the Court's preliminary

injunction to all Defendants and their employees, contractors, and grantees by March 10, 2025.

The written notice shall instruct the aforementioned groups that Defendants may not take any steps

to implement, give effect to, or reinstate under a different name the directives in Section 3(g) of

Executive Order 14,168 or Section 4 of Executive Order 14,187 that condition or withhold federal

funding based on the fact that a healthcare entity or health professional provides gender-affirming

medical care to a patient under the age of nineteen. The written notice shall also instruct Defendant

agencies to release any disbursements on funds that were paused due to the Executive Orders; it is

further

          ORDERED that the preliminary injunction remains in effect pending further orders from

this Court; it is further

          ORDERED that Defendants shall file a status report on or before March 11 , 2025,

apprising the Court of the status of Defendants' compliance with this Order, including by providing

a copy of the written notice described above; it is further

          ORDERED that no security bond is required because Defendants will not suffer any costs

from the preliminary injunction. Fed. R. Civ. P. 65(c).



Dated: March 4, 2025                                                 '-,,-         ---===
                                                               Brendan A. Hurson
                                                               United States District Judge
